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 Deloitte & Touche LLP
 2600 One PPG Place
 Pittsburgh, PA 15222
 Telephone: 412.402.5285
 Facsimile: 866.833.7796
 Travis Wright

 Accounting Advisory Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

           FINAL FEE APPLICATION BY DELOITTE & TOUCHE LLP FOR
       COMPENSATION FOR SERVICES RENDERED AS ACCOUNTING ADVISORY
                    SERVICES PROVIDER TO THE DEBTORS
         FOR THE PERIOD FROM JULY 17, 2017 THROUGH OCTOBER 31, 2017

  Name of Applicant:                                                    Deloitte & Touche LLP
  Authorized to Provide Services as:                                    Independent Auditor

  Date of Retention:                                                    Nunc Pro Tunc to June 1, 2018

  Period for which Compensation and                                     July 17, 2017 through October 31, 2017
  Reimbursement is Sought:

  Amount of Compensation Sought as Actual,                              $23,552.50
  Reasonable, and Necessary:

  Amount of Expense Reimbursement Sought:                               $         0.00

  Total Amount of Fees and Expense
  Reimbursement Sought as Actual, Reasonable                            $23,552.50
  and Necessary (100%):



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any, are: Westinghouse
 Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC (8538), Field Services, LLC (2550),
 Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100),
 Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc.
 (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster
 Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy
 Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
 Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC
 LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company LLC (5961).
 The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                             PRIOR MONTHLY FEE STATEMENTS FILED

                                                Amounts                       Amounts Approved/                     Holdback
                                               Requested                       Pending Approval                     Amounts
Date Filed             Period                Fees    Expenses                  Fees      Expenses                     Fees
Docket No.            Covered                                                 (80%)       (100%)                     (20%)

11/01/2017             7/17/17 –
                                        $16,524.00              $0.00        $13,219.20               $0.00           $3,304.80
  #1679                9/30/17
12/06/2017            10/01/17 –
                                          $7,028.50             $0.00         $5,622.80               $0.00           $1,405.70
  #1875               10/31/17

  Totals                                $23,552.50              $0.00        $18,842.00               $0.00           $4,710.50




                                   CUMULATIVE TIME SUMMARY
                          For the Period of July 17, 2017 through October 31, 2017

                                                                          Total           Hourly
   Name                                   Position                                                           Total Fees
                                                                          Hours            Rate
   Wright, Travis                         Managing Director                  15.40              $450            $6,930.00
   Polachek, Matthew                      Sr. Manager                        14.60              $340            $4,964.00
   Polachek, Matthew                      Manager                            16.40              $300            $4,920.00
   Sullivan, Jonathan                     Manager                             2.50              $300              $750.00
   Bozich, Anne                           Sr. Consultant                     17.40              $260            $4,524.00
   Cooper, Carla                          Sr. Consultant                      5.10              $260            $1,326.00
   Gutierrez, Dalia                       Consultant                          1.90              $215              $408.50
   Less: Non-Working
   Travel Discount2                                                                                             ($270.00)
   Total Fees                                                                73.30                             $23,552.50

  Average Hourly Billing Rate: $321.32




 2 Foreach professional incurring non-working travel time, Deloitte & Touche LLP charges half of that professional’s applicable
 hourly billing rate. Hours captured by this category are limited to non-working travel time and are therefore not duplicative of
 time charged in any other category. Travel time is computed from the time the individual leaves the location from which he or
 she departs until arrival at the designated location.


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                  CUMULATIVE FEES BY CATEGORY SUMMARY
                  For the Period of July 17, 2017 through October 31, 2017


   Project Categories                                Total Hours              Total Fees
   Entity Level Control/ Planning                           64.50            $21,548.00
   Non-Working Travel                                        1.80               $540.00
   Preparation of Fee Applications                           7.00             $1,734.50
   Less: Non-Working Travel Discount                                          ($270.00)
   Total Fees                                               73.30            $23,552.50




                                             3
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 Deloitte & Touche LLP
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 Travis Wright

 Accounting Advisory Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
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           FINAL FEE APPLICATION BY DELOITTE & TOUCHE LLP FOR
       COMPENSATION FOR SERVICES RENDERED AS ACCOUNTING ADVISORY
                    SERVICES PROVIDER TO THE DEBTORS
         FOR THE PERIOD FROM JULY 17, 2017 THROUGH OCTOBER 31, 2017

            Deloitte & Touche LLP (“Deloitte & Touche” or the “Applicant”), accounting advisory
 services provider to the above-captioned debtors and debtors-in-possession (collectively, the
 “Debtors”) in these chapter 11 cases, hereby seeks final allowance of compensation pursuant to
 section 330 of title 11 of the United States Code (the “Bankruptcy Code”), rule 2016 of the Federal
 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 2016-1 of the Local Rules of
 the United States Bankruptcy Court for the Southern District of New York (the “Local Rules”),
 for the period commencing July 17, 2017 through and including October 31, 2017 (the “Final
 Application Period”). In support of this final fee application (the “Final Application”), Deloitte
 & Touche respectfully represents as follows:




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any, are: Westinghouse
 Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC (8538), Field Services, LLC (2550),
 Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100),
 Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc.
 (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster
 Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy
 Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
 Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC
 LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company LLC (5961).
 The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                                         JURISDICTION

        1.      The Court has subject matter jurisdiction to consider and determine this matter

 pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

 Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        STATUTORY BASIS

        2.      The statutory predicates for the relief requested herein are: (i) sections 330 and

 331 of the Bankruptcy Code; (ii) rule 2016 of the Bankruptcy Rules; (iii) rule 2016-1 of the Local

 Rules; and (iv) the Compensation Order (as defined below). This Final Application has been

 prepared in accordance with General Order M-447, Amended Guidelines for Fees and

 Disbursements for Professionals in Southern District of New York Bankruptcy Cases, effective

 as of February 5, 2013 (the “Local Guidelines”), and the United States Trustee Guidelines for

 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

 U.S.C. § 330, effective January 30, 1996 (the “UST Guidelines” and, together with the Local

 Guidelines, the “Guidelines”). Pursuant to the Guidelines, a certification regarding compliance

 with the Guidelines is attached hereto as Exhibit B.

                                         BACKGROUND

        A. General Background

        3.      On March 29, 2017 (the “Petition Date”), each of the Debtors commenced a voluntary

 case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate their

 businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been

 appointed in these chapter 11 cases.

        4.      The Debtors’ cases are being jointly administered pursuant to Bankruptcy Rule

 1015(b).




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        B. Interim Compensation and Retention of Deloitte & Touche

        5.      On May 24, 2017, the Court entered the Order Pursuant to 11 U.S.C. §§ 105(a),

 330, 331, Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing Procedures for Interim

 Compensation and Reimbursement of Expenses of Professionals [Docket No. 544] (the

 “Compensation Order”). Pursuant to the terms of the Compensation Order, retained professionals

 shall, among other things, file interim and final fee applications for approval of fees and expenses

 in accordance with the relevant provisions of the Bankruptcy Code, the Bankruptcy Rules, and

 the Local Rules.

        6.      On October 19, 2017, the Debtors filed the Application of Debtors Pursuant to

 11 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and

 2016-1 for Authority to Employ and Retain Deloitte & Touche LLP for Accounting Advisory

 Services Nunc Pro Tunc to July 17, 2017 [Docket No. 1585] (the “Retention Application”).

        7.      On November 16, 2017, the Court approved the Retention Application and

 Deloitte and Touche’s retention as accounting advisory services provider to the Debtors nunc pro

 tunc to the July 17, 2017 [Docket No. 1768] (the “Retention Order”).

      PRIOR FEE STATEMENTS FILED DURING THE APPLICATION PERIOD

        8.      On November 1, 2017, Deloitte & Touche filed its first combined monthly fee

 statement for interim allowance and payment of compensation in the amount of $16,524.00 for

 the period from July 17, 2017 through September 30, 2017 [Docket No. 1679] (the “First

 Combined Monthly Statement Period”) pursuant to the Compensation Order, requesting payment

 for 80% of fees for the First Combined Monthly Statement Period.

        9.      On December 6, 2017, Deloitte & Touche filed its second monthly fee statement

 for interim allowance and payment of compensation in the amount of $7,028.50 for the period

 from October 1, 2017 through October 31, 2017 [Docket No. 1875] (the “Second Monthly

 Statement Period”) pursuant to the Compensation Order, requesting payment for 80% of fees for

 the Second Monthly Statement Period.




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                                     RELIEF REQUESTED

        10.     By this Final Application and pursuant to the terms and conditions set forth in the

 Engagement Agreement (as defined in the Retention Application), Deloitte & Touche requests

 allowance on a final basis of compensation of 100% of its total fees in the amount of $23,552.50

 incurred during the Final Application Period. Deloitte & Touche did not incur any reimbursable

 expenses during the Final Application Period. Deloitte & Touche submits this Final Application

 in accordance with the Compensation Order and the Retention Order. All services for which

 Deloitte & Touche requests compensation were performed for, or on behalf of, the Debtors.

                                      BASIS FOR RELIEF

        11.     This Final Application is the final fee application submitted by Deloitte & Touche

 in these cases. By this Final Application, Deloitte & Touche requests the approval of fees in the

 amount of $23,552.50 incurred during the Final Application Period. The Applicant maintains

 computerized records of the time expended in the rendering of the professional services required

 by the Debtors. These records are maintained in the ordinary course of the Applicant’s business.

 A detailed statement of hours spent rendering professional services to the Debtors, in support of

 Deloitte & Touche’s request of compensation for fees incurred during the Final Application

 Period, is attached hereto as Exhibit A.        Exhibit A (i) identifies the professionals and

 paraprofessionals that rendered services in each project category; and (ii) describes each service

 such professional or paraprofessional performed.

        12.     Deloitte & Touche did not incur any reimbursable expenses during the Final

 Application Period.

        13.     No agreement or understanding exists between Deloitte & Touche and any

 nonaffiliated or unrelated person or persons for the sharing of compensation received or to be

 received for professional services rendered in or in connection with these cases.

                         DESCRIPTION OF SERVICES RENDERED

        14.     Deloitte & Touche served or advised the Debtors in the following areas throughout

 the Final Application Period. Detailed descriptions of these services, the amount of fees incurred,


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 and the amount of hours spent providing services throughout the Final Application Period are

 also provided in the attached Exhibit A.

 Entity Level Control/Planning

 Hours 64.50; Amount $21,548.00

           •     Deloitte & Touche assisted with an assessment of the existing entity-level risk and

                 control framework, including assisting the Debtors with a mapping exercise of entity-

                 level controls and providing a benchmark assessment.

 Non-Working Travel

 Hours 1.80; Amount $270.00 2
           •     Deloitte & Touche incurred non-working travel hours in connection with travel from

                 Cleveland, Ohio to Pittsburgh, Pennsylvania.

 Preparation of Fee Applications

 Hours 7.00; Amount $1,734.50

           •     Deloitte & Touche prepared monthly fee statements for the First Combined Monthly

                 Statement Period and the Second Monthly Statement Period.

                                     ALLOWANCE OF COMPENSATION

           15.       Because of the benefits realized by the Debtors, the nature of services provided,

 the amount of work done, the time consumed and the skill required, Deloitte & Touche requests

 that it be allowed, on a final basis, compensation for the professional services rendered during

 the Final Application Period in the sum of $23,552.50.

           16.       During the Final Application Period, allowance of compensation in the amount

 requested would result in a blended hourly billing rate for Deloitte & Touche professionals of

 approximately $321.32. The fees charged by Deloitte & Touche in these cases are billed in

 accordance with its existing billing structure and procedures in effect during the Final Application

 Period.




 2   For each professional incurring non-working travel time, Deloitte & Touche LLP charges half of that professional’s
      applicable hourly billing rate. Hours captured by this category are limited to non-working travel time and are therefore not
      duplicative of time charged in any other category. Travel time is computed from the time the individual leaves the location
      from which he or she departs until arrival at the designated location.


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        17.     Deloitte & Touche respectfully submits that the professional services rendered by

 Deloitte & Touche on behalf of the Debtors during the Final Application Period were reasonable,

 necessary and appropriate to the administration of these chapter 11 cases and related matters.

   DELOITTE & TOUCHE’S REQUESTED FEES SHOULD BE ALLOWED BY THIS

                                               COURT

        18.     Section 330 provides that a court may award a professional employed under

 section 327 of the Bankruptcy Code “reasonable compensation for actual, necessary services

 rendered . . . and reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1). Section

 330 sets forth the criteria for the award of compensation and reimbursement:
                In determining the amount of reasonable compensation to be awarded . . . the court
                shall consider the nature, the extent, and the value of such services, taking into
                account all relevant factors, including –

                (a)       the time spent on such services;
                (b)       the rates charged for such services;
                (c)       whether the services were necessary to the administration of, or beneficial
                          at the time at which the service was rendered toward the completion of, a
                          case under this title;

                (d)       whether the services were performed within a reasonable amount of time
                          commensurate with the complexity, importance, and nature of the problem,
                          issue, or task addressed;
                (e)       with respect to a professional person, whether the person is board certified
                          or otherwise has demonstrated skill and experience in the bankruptcy field;
                          and

                (f)       whether the compensation is reasonable based on the customary
                          compensation charged by comparably skilled practitioners in cases other
                          than cases under this title.

 11 U.S.C. § 330(a)(3).

        19.     In the instant case, Deloitte & Touche respectfully submits that the services for

 which it seeks compensation in this Final Application Period were necessary for and beneficial

 to the Debtors and were performed economically, effectively, and efficiently. Deloitte & Touche

 further submits that the compensation requested herein is reasonable in light of the nature, extent,

 and value of such services to the Debtors and all parties-in-interest. Further, in accordance with

 the factors enumerated in section 330 of the Bankruptcy Code, the amount of fees requested is

 fair and reasonable given: (i) the complexity of these cases; (ii) the time expended; (iii) the nature


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 and extent of the services rendered; (iv) the value of such services; and (v) the costs of comparable

 services other than in a case under the Bankruptcy Code. Accordingly, the approval of the

 compensation and expense reimbursement sought herein is warranted.

                     CERTIFICATE OF COMPLIANCE AND WAIVER

         20.    Finally, as set forth in Exhibit B attached hereto, the undersigned representative

 of Deloitte & Touche certifies that Deloitte & Touche has reviewed the requirements of rule

 2016-1 of the Local Rules and that the Final Application substantially complies with that Local

 Rule.   To the extent that the Final Application does not comply in all respects with the

 requirements of Local Rule 2016-1, Deloitte & Touche believes that such deviations are not

 material and respectfully requests that any such requirement be waived.




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                WHEREFORE, Deloitte & Touche respectfully requests that the Court enter an

 order: (i) granting the allowance, on a final basis, of compensation for professional services

 rendered by the Applicant to the Debtors during the Final Application Period in the amount of

 $23,552.50, which represents 100% of the total compensation for professional services rendered

 by Applicant during the Final Application Period; and (ii) granting such other relief as may be

 just and proper.

 Dated: October 1, 2018
 Pittsburgh, PA                                     Respectfully submitted,

                                                    DELOITTE & TOUCHE LLP


                                                    /s/ Travis Wright
                                                    Travis Wright
                                                    Managing Director
                                                    2600 One PPG Place
                                                    Pittsburgh, PA 15222
                                                    Telephone: 412.402.5285
                                                    Facsimile: 866.833.7796




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                           EXHIBIT A




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                        Westinghouse Electric Company LLC
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                    July 17, 2017 - October 31, 2017

Date                        Description                                  Rate    Hours      Fees

Entity Level Control / Planning
07/17/2017
   Polachek, Matthew        Perform Entity Level Control               $300.00     1.3    $390.00
                            walkthroughs for Human Resource
                            related controls with T. Wright and J.
                            Sullivan (Deloitte), K. Aufman, T.
                            Hudak, M. Gillock, and A. McKey (All
                            Westinghouse).
   Polachek, Matthew        Prepare for Human Resources and            $300.00     1.4    $420.00
                            Audit Committee Entity Level Control
                            walkthroughs with K. Aufman, and T.
                            Hudak (Westinghouse Internal Audit).
   Polachek, Matthew        Prepare for Audit Committee and            $300.00     0.9    $270.00
                            Board of Directors Entity Level Control
                            walkthrough with K. Aufman, and T.
                            Hudak (Westinghouse Internal Audit).
   Polachek, Matthew        Debrief and document control design        $300.00     1.6    $480.00
                            for Entity Level Controls (Human
                            Resources and Audit Committee) with
                            T. Wright (Deloitte), K. Aufman, and T.
                            Hudak (Westinghouse Internal Audit).
   Sullivan, Jonathan       Perform Entity Level Control               $300.00     0.5    $150.00
                            walkthroughs for Human Resource
                            related controls with T. Wright and M.
                            Polachek (Deloitte), K. Aufman, T.
                            Hudak, M. Gillock, and A. McKey (All
                            Westinghouse). partial attendance
   Wright, Travis           Perform Entity Level Control               $450.00     1.3    $585.00
                            walkthroughs for Human Resource
                            related controls with M. Polachek and
                            J. Sullivan (Deloitte), K. Aufman, T.
                            Hudak, M. Gillock, and A. McKey (All
                            Westinghouse).
   Wright, Travis           Debrief and document control design        $450.00     1.6    $720.00
                            for Entity Level Controls (Human
                            Resources and Audit Committee) with
                            M. Polachek (Deloitte), K. Aufman, and
                            T. Hudak (Westinghouse Internal
                            Audit).




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                       Westinghouse Electric Company LLC
                               Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                   July 17, 2017 - October 31, 2017
Date                       Description                                   Rate    Hours      Fees

Entity Level Control / Planning
07/18/2017
   Polachek, Matthew       Perform walkthrough for Internal Audit      $300.00     0.8    $240.00
                           Entity Level Control with T. Wright
                           (Deloitte), K. Aufman, and T. Hudak
                           (Westinghouse Internal Audit), and T.
                           Baird (Internal Audit Director).
   Polachek, Matthew       Debrief and document control design         $300.00     1.8    $540.00
                           for Entity Level Controls (Internal Audit
                           and Communications) with T. Wright
                           (Deloitte), K. Aufman, and T. Hudak
                           (Westinghouse Internal Audit).
   Polachek, Matthew       Prepare for Internal Audit Entity Level     $300.00     0.4    $120.00
                           Control walkthrough with T. Wright
                           (Deloitte), K. Aufman, and T. Hudak
                           (Westinghouse Internal Audit).
   Wright, Travis          Perform walkthrough for Internal Audit      $450.00     0.8    $360.00
                           Entity Level Control with M. Polachek
                           (Deloitte), K. Aufman, and T. Hudak
                           (Westinghouse Internal Audit), and T.
                           Baird (Internal Audit Director).
   Wright, Travis          Debrief and document control design         $450.00     1.8    $810.00
                           for Entity Level Controls (Internal Audit
                           and Communications) with M.
                           Polachek (Deloitte), K. Aufman, and T.
                           Hudak (Westinghouse Internal Audit).
07/19/2017
   Polachek, Matthew       Perform walkthrough for Ethics and          $300.00     1.2    $360.00
                           Compliance Entity Level Controls with
                           T. Wright and J. Sullivan (Deloitte), K.
                           Aufman, and T. Hudak (Westinghouse
                           Internal Audit), and J. Buddie, Y.
                           Bhonsle and M. Marshall (Ethics and
                           Compliance - Westinghouse).
   Polachek, Matthew       Prepare for Ethics and Compliance           $300.00     0.6    $180.00
                           Entity Level Control walkthrough with
                           T. Wright (Deloitte), K. Aufman, and T.
                           Hudak (Westinghouse Internal Audit).
   Polachek, Matthew       Debrief and document control design         $300.00     1.2    $360.00
                           for Entity Level Controls (Ethics and
                           Compliance) with T. Wright (Deloitte),
                           K. Aufman, and T. Hudak
                           (Westinghouse Internal Audit).

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                        Westinghouse Electric Company LLC
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                    July 17, 2017 - October 31, 2017
Date                        Description                                  Rate    Hours      Fees

Entity Level Control / Planning
07/19/2017
   Polachek, Matthew        Prepare for and perform walkthrough        $300.00     2.6    $780.00
                            for Enterprise Risk Management Entity
                            Level Controls with K. Aufman, and T.
                            Hudak (Westinghouse Internal Audit),
                            and S. Oyler (Risk Management -
                            Westinghouse).
   Polachek, Matthew        Debrief and document control design        $300.00     0.8    $240.00
                            for Entity Level Controls (Enterprise
                            Risk Management) with K. Aufman,
                            and T. Hudak (Westinghouse Internal
                            Audit).
   Sullivan, Jonathan       Prepare for and perform walkthrough        $300.00     2.0    $600.00
                            for Ethics and Compliance Entity Level
                            Controls with K. Aufman, and T. Hudak
                            (Westinghouse Internal Audit), and J.
                            Buddie, Y. Bhonsle and M. Marshall
                            (Ethics and Compliance -
                            Westinghouse).
   Wright, Travis           Perform walkthrough for Ethics and         $450.00     1.2    $540.00
                            Compliance Entity Level Controls with
                            M. Polachek and J. Sullivan (Deloitte),
                            K. Aufman, and T. Hudak
                            (Westinghouse Internal Audit), and J.
                            Buddie, Y. Bhonsle and M. Marshall
                            (Ethics and Compliance -
                            Westinghouse).
   Wright, Travis           Debrief and document control design        $450.00     1.2    $540.00
                            for Entity Level Controls (Ethics and
                            Compliance) with M. Polachek
                            (Deloitte), K. Aufman, and T. Hudak
                            (Westinghouse Internal Audit).
07/20/2017
   Wright, Travis           Perform walkthrough for Enterprise         $450.00     1.2    $540.00
                            Risk Management Entity Level
                            Controls with K. Aufman, and T. Hudak
                            (Westinghouse Internal Audit), and S.
                            Oyler (Risk Management -
                            Westinghouse).




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                       Westinghouse Electric Company LLC
                               Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                   July 17, 2017 - October 31, 2017
Date                       Description                                  Rate    Hours      Fees

Entity Level Control / Planning
07/20/2017
   Wright, Travis          Perform walkthrough for Outsourced         $450.00     0.9    $405.00
                           Service Provider Entity Level Controls
                           with, K. Aufman, and T. Hudak
                           (Westinghouse Internal Audit), and J.
                           Hobi, D. Daugherty and E. Hamilton
                           (Legal and Contracting -
                           Westinghouse).
09/05/2017
   Polachek, Matthew       Status meeting regarding Entity Level      $340.00     1.0    $340.00
                           Control with T. Wright (Deloitte), T.
                           Baird, and T. Hudak (Westinghouse
                           Internal Audit).
   Wright, Travis          Status meeting regarding Entity Level      $450.00     1.0    $450.00
                           Control with M. Polachek (Deloitte), T.
                           Baird, and T. Hudak (Westinghouse
                           Internal Audit).
09/06/2017
   Polachek, Matthew       Review Entity Level Control workpaper      $340.00     1.2    $408.00
                           including testing and documentation
                           performed by T. Hudak (Westinghouse
                           Internal Audit).
09/18/2017
   Wright, Travis          Review design and implementation           $450.00     1.4    $630.00
                           procedures performed by Internal Audit
                           (Tyler Hudak) for entity-level controls.
09/19/2017
   Polachek, Matthew       Develop Entity Level Control               $340.00     0.8    $272.00
                           workpaper review approach and
                           distributed to T. Wright (Deloitte) and
                           A. Bozich (Deloitte).
09/27/2017
   Bozich, Anne            Review Entity Level Control narrative      $260.00     2.1    $546.00
                           and manual documentation from the
                           client for the understanding of the
                           process and controls over the
                           Communications focus area.




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                     Westinghouse Electric Company LLC
                             Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
                                 July 17, 2017 - October 31, 2017
Date                     Description                                  Rate    Hours      Fees

Entity Level Control / Planning
09/27/2017
   Bozich, Anne          Review Entity Level Control narrative      $260.00     2.3    $598.00
                         and manual documentation from the
                         client for the understanding of the
                         process and controls over the
                         Compliance focus area.
   Bozich, Anne          Review Entity Level Control narrative      $260.00     2.4    $624.00
                         and manual documentation from the
                         client for the understanding of the
                         process and controls over the HR
                         focus area.
   Bozich, Anne          Review Entity Level Control sharepoint     $260.00     2.0    $520.00
                         documentation for Communications
                         focus area.
   Bozich, Anne          Review Entity Level Control sharepoint     $260.00     2.5    $650.00
                         documentation for Compliance focus
                         area.
   Bozich, Anne          Review Entity Level Control sharepoint     $260.00     1.9    $494.00
                         documentation for HR focus area.
09/28/2017
   Bozich, Anne          Reconcile Entity Level Control issue       $260.00     0.2     $52.00
                         log documentation for Compliance
                         focus area.
   Bozich, Anne          Reconcile Entity Level Control issue       $260.00     0.4    $104.00
                         log documentation for Communication
                         focus area.
   Bozich, Anne          Reconcile Entity Level Control issue       $260.00     0.3     $78.00
                         log documentation for HR focus area.
   Bozich, Anne          Reconcile Entity Level Control Risk        $260.00     1.2    $312.00
                         Control Matrix and Narrative
                         documentation for Communication
                         focus area.
   Bozich, Anne          Reconcile Entity Level Control RCM         $260.00     1.0    $260.00
                         and Narrative documentation for
                         Compliance focus area.
   Bozich, Anne          Reconcile Entity Level Control RCM         $260.00     1.1    $286.00
                         and Narrative documentation for HR
                         focus area.




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                       Westinghouse Electric Company LLC
                               Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                   July 17, 2017 - October 31, 2017
Date                       Description                                  Rate    Hours      Fees

Entity Level Control / Planning
10/03/2017
   Polachek, Matthew       Consolidate Entity Level Control review    $340.00     1.1    $374.00
                           comments, including assess next steps
                           for gap assessment and client control
                           owner communications.
10/19/2017
   Polachek, Matthew       Finalize Control Activities entity level   $340.00     0.7    $238.00
                           control matrix.
   Polachek, Matthew       Continue to finalize Risk Assessment       $340.00     0.8    $272.00
                           entity level control matrix.
   Polachek, Matthew       Coordinate with T. Wright (Deloitte)       $340.00     0.8    $272.00
                           regarding the finalization of the Entity
                           Level Controls risk matrix and findings
                           log.
   Polachek, Matthew       Continue to finalize Control               $340.00     1.9    $646.00
                           Environment entity level control matrix.
   Wright, Travis          Review of risk control matrix and          $450.00     0.7    $315.00
                           interim observations log for the entity-
                           level controls.
   Wright, Travis          Coordinate with M. Polachek (Deloitte)     $450.00     0.8    $360.00
                           around the finalization of the Entity
                           Level Controls risk matrix and findings
                           log.
10/20/2017
   Polachek, Matthew       Finalize Information and                   $340.00     0.7    $238.00
                           Communication entity level control
                           matrix.
   Polachek, Matthew       Finalize Monitoring entity level control   $340.00     0.6    $204.00
                           matrix.
   Polachek, Matthew       Create entity level control issues log.    $340.00     1.2    $408.00
10/22/2017
   Polachek, Matthew       Update entity level control issues for     $340.00     1.7    $578.00
                           Control Environment and Risk
                           Assessment focus areas.
10/23/2017
   Polachek, Matthew       Update entity level control issues for     $340.00     2.1    $714.00
                           Control Activities, Communication, and
                           Monitoring focus areas.


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                        Westinghouse Electric Company LLC
                                      Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                         July 17, 2017 - October 31, 2017
Date                             Description                                  Rate    Hours        Fees

Entity Level Control / Planning
10/23/2017
   Wright, Travis                Review of entity-level controls            $450.00     1.5     $675.00
                                 framework and current observations
                                 log.
    Subtotal for Entity Level Control / Planning:                                      64.5   $21,548.00

Non-Working Travel
07/18/2017
   Polachek, Matthew             Travel to Cleveland, OH from               $300.00     1.8     $540.00
                                 Pittsburgh, PA
    Subtotal for Non-Working Travel:                                                    1.8     $540.00

Preparation of Fee Applications
10/09/2017
   Cooper, Carla                 Review time reports for September          $260.00     0.5     $130.00
                                 2017 monthly fee statement.
10/12/2017
   Cooper, Carla                 Review time reports for July 2017          $260.00     2.8     $728.00
                                 through September 2017 in
                                 preparation of fee statement.
10/13/2017
   Cooper, Carla                 Prepare July/August 2017 monthly fee       $260.00     1.5     $390.00
                                 statement.
10/16/2017
   Cooper, Carla                 Call with J. Race and T. Wright            $260.00     0.3      $78.00
                                 (Deloitte) regarding fee statement
                                 invoicing.
10/24/2017
   Gutierrez, Dalia              Prepare July 2017 - September 2017         $215.00     1.5     $322.50
                                 monthly fee statement.
10/27/2017
   Gutierrez, Dalia              Revise July 2017 - September 2017          $215.00     0.4      $86.00
                                 monthly statement.
    Subtotal for Preparation of Fee Applications:                                       7.0    $1,734.50
Total                                                                                  73.3   $23,822.50



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                           Westinghouse Electric Company LLC
                                   Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
                                        July 17, 2017 - October 31, 2017


Adjustment
Non-Working Travel 50% Reduction                                                             ($270.00)
Adjustment Subtotal :                                                                        ($270.00)
Total                                                                               73.3    $23,552.50




                                           Recapitulation
        Name                                                   Rate        Hours           Fees
        Wright, Travis                                    $450.00           15.4     $6,930.00
        Polachek, Matthew                                 $340.00           14.6     $4,964.00
        Polachek, Matthew                                 $300.00           16.4     $4,920.00
        Sullivan, Jonathan                                $300.00            2.5       $750.00
        Bozich, Anne                                      $260.00           17.4     $4,524.00
        Cooper, Carla                                     $260.00            5.1     $1,326.00
        Gutierrez, Dalia                                  $215.00            1.9       $408.50
        Non-Working Travel 50% Reduction                                              ($270.00)
        Total                                                               73.3    $23,552.50




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                           EXHIBIT B




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 Deloitte & Touche LLP
 2600 One PPG Place
 Pittsburgh, PA 15222
 Telephone: 412.402.5285
 Facsimile: 866.833.7796
 Travis Wright

 Accounting Advisory Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al.,  1
                                                                 | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
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    CERTIFICATION UNDER GUIDELINES FOR FEES AND DISBURSEMENTS
             FOR PROFESSIONALS IN RESPECT OF FINAL FEE
    APPLICATION BY DELOITTE & TOUCHE LLP FOR COMPENSATION FOR
   SERVICES RENDERED AS ACCOUNTING ADVISORY SERVICES PROVIDER
 TO THE DEBTORS FOR THE PERIOD JULY 17, 2017 THROUGH OCTOBER 31, 2017

 Travis Wright, deposes and says:
                     1.       I am a managing director of Deloitte & Touche LLP (“Deloitte & Touche”),
 which has an office located at 2600 One PPG Place, Pittsburgh, PA 15222. I make this
 certification in connection with the final fee application (the “Final Application”) by Deloitte &
 Touche, in the above-captioned debtors’ (the “Debtors”) chapter 11 cases.




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global
 Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear
 Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735),
 WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions,
 LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse
 Industry Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry
 Township, Pennsylvania 16066.
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               2.      I submit this certification with respect to Deloitte & Touche’s compliance
 with and pursuant to the Court’s General Order M-447, the Amended Guidelines for Fees and
 Disbursements for Professionals in the Southern District of New York adopted by the Court on
 November 25, 2009 (the “Local Guidelines”), and the United States Trustee Guidelines for
 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.
 §330, effective January 30, 1996 (the “UST Guidelines”) (collectively, and with the Order to
 Establish Procedures for Interim Compensation and Reimbursement of Expenses of Professionals
 entered in these cases on May 24, 2017 (the “Compensation Order”) the “Guidelines”).
               3.      In compliance with the Guidelines, I hereby certify that:
                       a.      I have read the Final Application and am familiar with the services
               for which compensation is being sought that are described therein;
                       b.      To the best of my knowledge, information and belief, the fees and
               disbursement sought in the Final Application are in substantial compliance with
               the Guidelines.
                       c.      The fees and disbursements sought in the Final Application are
               billed at rates or in accordance with practice customarily employed by Deloitte &
               Touche for similar services and generally accepted by Deloitte & Touche’s clients.
                       d.      Deloitte & Touche has not made a profit with respect to the
               expenses, if any, requested in the Final Application.
                       e.      No agreement or understanding exists between Deloitte & Touche
               and any other non-affiliated or unrelated person or persons for the sharing of
               compensation received or to be received for professional services rendered in or
               in connection with these cases.
                       f.      Deloitte & Touche has not entered into any agreement with the
               office of the United States Trustee, the Debtors, any creditor or any other party in
               interest, for the purpose of fixing the amount of any of the fees or other
               compensation allowed out of or paid from the assets of the Debtors.




                                                 2
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                        g.    Copies of the Final Application were provided to the appropriate
               parties on or about the date set for the filing of applications by the Compensation
               Order.


                                             /s/ Travis Wright
                                             Travis Wright
                                             Managing Director

 Dated: October 1, 2018




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